Case 1:13-CV-01741-RGA Document 30 Filed 05/15/14 Page 1 of 6 Page|D #: 605

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNIVERSAL AMERICAN CORP.,

Plaintiff,
v.

PARTNERS HEALTHCARE SOLUTIONS
HOLDINGS, L.P., GTCR GOLDER
RAUNER II, L.L.C., GTCR PARTNERS IX,
L.P., GTCR FUND IX/A, L.P., GTCR FUND
IX/B, L.P., GTCR CO-INVEST III, L.P.,
DAVID KATZ, GREGORY SCOTT,
JEROME VACCARO and JOHN
McDONOUGH,

C.A. No. 13-1741-RGA

Defendants.

\/\./\./\/\/V\_/V\./V\_/V\/\/\./

MOTION AND ORDER FOR ADMISSION PRO HAC VICE
Pursuant to Local Rule 83.5 and the attached certifications, counsel moves for the
admission pro hac vice of Reed S. Oslan, Scott A. McMillin and Richard U. S. Howell of
Kirkland & Ellis LLP to represent Defendants Partners Healthcare Solutions Holdings, L.P.,
GTCR Golder Rauner II, L.L.C., GTCR Partners IX, L.P., GTCR Fund IX/A, L.P., GTCR Fund
IX/B, L.P., GTCR Co-Invest III, L.P., David Katz, Gregory Scott, Jerome Vaccaro and John
McDonough in this matter.
MORRIS, NICHOLS, ARSHT & TUNNELL LLP
/s/ Ryan D. Stottmann
OF COUNSEL: J on E. Abramczyk (#2432)

Ryan D. Stottmann (#5237)
Reed S. Oslan, P.C. .
Scott A. MCMHHH’ P_C. 1201 North Market Street, Sulte 1600

Richard U s Howeu Wilmington, DE 19801
KIRKLAND & ELLIS LLP (302) 658-9200

3°0N°"hLaSa“" J_:ML'§
$;111(: §§ ;) 5)11;1611_'§_128()60%654 Attorneysfor Defendants

May 15, 2014

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ORDER GRANTING MOTION

IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is

GRANTED.

Dated:

 

 

United States District Judge

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC' VICE

Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this
Court, am admitted, practicing and in good standing as a member of the Bar of the State of
Illinois and pursuant to Local Rule 83.6 I submit to the disciplinary jurisdiction of this Court for
any alleged misconduct which occurs in the preparation or course of this action. l also certify
that l am generally familiar with this Court’s Local Rules. In accordance with Standing Order
for District Court Fund effective July 23, 2009, l further certify that the annual fee of $25.00, if

not previously paid, will be submitted to the Clerk’s Office upon the filing of this motion.

 

  

Date: __{; /§///‘I$/

  

' . * D & ELLIS LLP
300 North LaSalle-
Chicago, Illinois 60654

   

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Date: /Y\<»" if zc‘“l /i@%//% v

seat h.\McMiuin ‘/
KIRKLAND & ELLIS LLP
300 North\ LaSalle

Chicago, Illinois 60654

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Date: S`//y//Lf M §M

Richard U. s. Howe'u
KIRKLAND & ELLIS LLP
300 North LaSalle

Chicago, Illinois 60654

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CERTIFICATE OF SERVICE

I hereby certify that on May 15, 2014, I caused the foregoing to be electronically
filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to:

Blake Rohrbacher

RICHARDS LAYTON & FINGER, P.A.
One Rodney Square

920 N. King Street

Wilmington, DE 19801

/s/ Ryan D. Stottmann
Ryan D. Stottmann (#523 7)

